    Case 1:21-cv-00734-CAP Document 1-1 Filed 02/21/21 Page 1 of 16




Daphne Buck et al. v. Kroger Managment-NMTC Athens I, LLC
Superior Court of Cobb County, State of Georgia
Civil Action File Number: 21100313

Daphne Buck et al. v. Kroger Managment-NMTC Athens I, LLC
USDC, Northern District, Atlanta Division
Civil Action File Number: TBA (Removal # 1:19-mi-99999)




    EXHIBIT A: PETITION FOR REMOVAL



ALL PLEADINGS, PROCESS, AND ORDERS SERVED
         UPON DEFENDANT IN THE
     SUPERIOR COURT OF COBB COUNTY,
            STATE OF GEORGIA
                                                                                                  ~
       ~
                    Case 1:21-cv-00734-CAP Document 1-1 Filed 02/21/21 Page 2 of ID#
                                                                                  16 2021-0005319-CV
                                                                                                                             EFILED IN OFFICE
                     ~    General Civil and Domestic Relations Case Filing Information ForI7fLERK OF sUPERIOR COURT
                                                                                              COBB COUNTY, GEORGIA
                             ❑
                             ✓ Superior or ❑ State Court of           Cobb                        County                      21100313
                                                                                                                                       - 49
                                                                                                                                          M
           For Clerk Use Only                                                                                        JAN 13, 2021 05:38

           Date Filed o1- 13 - 2021                              Case Number21loo313                                      `...... ........_...._
                                                                                                             — - Connie Taylor,          .... ..................
                                                                                                                                                 .             ............._
                                                                                                                                 Glerk of Superior ourt
                                                                                                                                           '
                                                                                                                                            Cobb County. G          roia
                            MM-DD-YYYY

Plaintiff(s)                                                         Defendant(s)
Buck, Daphne                                                         Kroger Management-NMTC Athens I, LLC
Last             First            Middle I.    Suffix   Prefix       Last           First             Middle I.         Suffix             Prefix
Buck, Michael
Last              First           Middle 1.    Suffix   Prefix       Last           First             Middle I.         Suffix             Prefix


Last              First           Middle I.    Suffix   Prefix       Last           First             Middle I.         Suffix             Prefix


Last             First            Middle 1.    Suffix   Prefix       Last           First             Middle I.         Suffix             Prefix

Plaintiff's Attorney Okeke, Michael                                   Bar Number 148141                    Self-Represented ❑

                              Check one case type and, if applicable, one sub-type in one box.

           General Civil Cases                                              Domestic Relations Cases
           ❑       Automobile Tort                                          ❑      Adoption
           ❑       Civil Appeal                                             ❑      Contempt
           ❑       Contract                                                        ❑  Non-payment of child support,
           ❑       Contempt/Modification/Other                                     medical support, or alimony
                   Post-Judgment                                            ❑      Dissolution/Divorce/Separate
           ❑       Garnishment                                                     Maintenance/Alimony
           m       General Tort                                             ❑      Family Violence Petition
           ❑       Habeas Corpus                                            ❑      Modification
           ❑       Injunction/Mandamus/Other Writ                                  ❑ C ustody/Parenting Time/Visitation
           ❑       Landlord/Tenant                                          ❑      Paternity/Legitimation
           ❑       Medical Malpractice Tort                                 ❑      Support - IV-D
           ❑       Product Liability Tort                                   ❑      Support - Private (non-IV-D)
           ❑       Real Property                                            ❑      Other pomestic Relations
           ❑       Restraining Petition
           ❑       Other General Civil

❑          Check if the action is related to another action(s) pending or previously pending in this court involving some or all
           of the same parties, subject matter, or factual issues. If so, provide a case number for each.


                    Case Number                                   Case Number

9          1 hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
           redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.

❑          Is a foreign language or sign-language interpreter needed in this case? If so, provide the language(s) required.

                                              Language(s) Required

❑          Do you or your client need any disability accommodations? If so, please describe the accommodation request.



                                                                                                                                               Version 1.1.20
Case 1:21-cv-00734-CAP Document 1-1 Filed 02/21/21 Page 3ID#
                                                          of 16
                                                             2021-0005318-CV
                                                                                           ~ EFILED IN OFFICE
  ~             SUPERIOR COURT OF COBB COUNTY                                           CLERK OF SUPERIOR COURT
                                                                                         COBB COUNTY, GEORGIA
                       STATE OF GEORGIA
                                                                                              21100313
                                                                                          C. LaTain Kell Sr. - 49
                                                                                         JAN 13, 2021 05:38 PM

                                                                                                    ~           ................__............._..............—
                                                                                          Connie Taylor, Clerk of Superior Court
                                                                                                         Cobb County, Georgia




                    CIVIL ACTION NUMBER 21 100313

                                                  $214.00 COST PAID
Buck, Daphne
Buck, Michael

PLAINTIFF
                                            VS.
Kroger Management-NMTC Athens I, LLC ,
DBA KO11 Kroger East/Atlanta

DEFENDANT

                          SUMMONS
TO: KROGER MANAGEMENT-NMTC ATHENS I, LLC

You are hereby summoned and required to file with the Clerk of said court and serve upon the
Plaintiffs attorney, whose name and address is:

                           Michael Okeke
                           Okeke Law Firm,P.C.
                           1567 Blossom Drive
                           Atlanta, Georgia 30349

an answer to the complaint which is herewith served upon you, within 30 days after service of
this summons upon you, exclusive of the day of service. If this action pertains to a Protective
Order, the Answer is to be filed and served on or before the scheduled hearing date attached.
If you fail to do so, judgment by default will be taken against you for the relief demanded in
the complaint.

This 13th day of January, 2021.
                                                  Clerk of Superior Court


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              G        ,       ~

                                              Connie Taylor, Clerk of Superior Court
                                                             Cobb County, Georgia
        Case 1:21-cv-00734-CAP Document 1-1 Filed 02/21/21 Page 4 of ID#
                                                                      16 2021-0005320-CV
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                                                                                                CLERK OF SUPERIOR COURT
                                                                                                 COBB COUNTY, GEORGIA

                                                                                                             21100313
DISCLOSURE STATEMENT                                                                               C. LaTain Kell Sr. - 49
                                                                                                  JAN 13, 2021 05:38 PM
CLERK OF SUPERIOR COURT
                                                                                                        ~... ......................... .. . .... . _ _.................._..
                                                                                       --...---------_
                                                                                               Connie Tayior. Clerk of Superior Court
CASE NUMBER            21100313                                                                                                Cobb County. Georgia




Buck, Daphne ; Buck, Michael
                      Plaintiff

                            Vs.

Kroger Management-NMTC Athens I, LLC
              Defendant


                                         TYPE OF ACTION

          o    Divorce without Agreement Attached         o URESA
          o    Divorce with Agreement Attached            o Name Change
          o    Domestic Relations                         o Other
          o    Damages Arising out of Contract            o Recusal
          cY   Damages Arising out of Tort                o Adoption
          o    Condemnation
          o    Equity
          o    Zoning — County Ordinance Violations (i.e., Injunctive Relief-Zoning)
          o    Zoning Appeals (denovo)
          o    Appeal, Including denovo appeal — excluding Zoning

                                  PREVIOUS RELATED CASES
Does this case involve substantially the same parties, or substantially the same subject matter, or
substantially the same factual issues, as any other case filed in this court (Whether pending
simultaneously or not)?

     d NO
     o YES — If yes, please fill out the following:
               1.Case #

               2. Parties

               3. Assigned Judge

               4. Is this case still pending?          o     Yes   o   No

               5. Brief description of similarities:




                                                       /S/    Okeke, Michael
                                                                            AttnrnPv rn- Partv Filinv Cnit
      Case 1:21-cv-00734-CAP Document 1-1 Filed 02/21/21 Page 5 of ID#
                                                                    16 2021-0005317-CV
                                                                                          :~;'= EFILED IN OFFICE
                                                                                      CLERK OF SUPERIOR COURT
                                                                                       COBB COUNTY, GEORGIA

                   IN THE SUPERIOR COURT OF COB COUNTY                                                 21100313 ._ ~
                                                                                           C. LaTain Kell Sr. - 49
                             STATE OF GEORGIA                                             JAN 13, 2021 05:38 PM

D.a.phne;Buck                                 )                                                                     ~
                                                                                           _..................................      _
                                                                                      ~    Connie Taylor, CIerK of Superior Court
1ltichaeI Buck                                )                                                           Cobb County, Georgia

Plainf~,s                                         )
                                              )
                                              ) Civil Action:File,
`v=                                           ) No,
                                              ).

                                              )
Kroger 1tilaanagement-NMTC Athens I;:; )
LLC: {KO1:T Krogex East/Atlauta):      ~
Defenelc~.~                                   ~.:

                 COMI'LAINT
                   . _  .
                             FOR PERSONAL        INJURY DAlVIACES
                                            ., .,> ...  ...     _
                       AfiT;ORNEY'.S.FEES' AND:EXPENSES
                                                                          .,
            COME'N-OW; Plauitiffs;Daphne Buck and:Miehael'Bnckb~arid.througli:
~indeirs'ig~ed° coungeT;
                       ,
                         and file:tlieir `Corriplaint against I~mefendant; Kro'ger ~Vlanagement
           ,       ,.                                              ,
NMTC Atbens i,;..LLC (K011 K~roger:;East/Atlanta) anii≥ui support'thereof,,state~s:.


                             I. JURISDICTION-AND VENi7Es~:




                                                  3.
    Trtis Coutt zn~.~:~x~.rcisejurisdiction over the sqliject,#*"f Plaintifts'. Co P~nt
and wuue-'At .Proper:

                              II. FACTUAL ALLEGATIONS
                                                  4.
      Plnin      ariopt and ineorporate by refereripe paragraphs;1:0irough 3 of their.
Compla~nt: as if~id paragraphs were fn11y set forlh her.ein:in t1~ Go~nplaint:.
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         Case 1:21-cv-00734-CAP Document 1-1 Filed 02/21/21 Page 6 of 16


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                                                                                   [.                                                              ¢                ...


         At all tilries relevant and prior to the daJlte of the inciderit i:n issue, Oetober 3, 2019,
Piain.ttff,lvIrs. Buck, was a very energetic 5,8 years :young ]ady, happily,married for over 30.
years to:IVIr:1Vlichael Buck anci they`are blessed witli 3 adult:.chiidreir.lVlrs. Buck.is college
educated and inter.czdia, lield a_full: ttrrie employment as an Adm:tiiistrative. Assistant witli
Clayton-County Public School.

                                                                                   5:
      At;all tun:es relevattt and,prior10 her sl'ip-and-fall uicxdenfi:: inside tlie liusuiess
premises: of Defendant; PlaintiffNlrs:. Buck,.cannot recall.everwhaving any injuries: to her
left knee.


        On;October
            ,
                      3, 2019, PiaintifflVT`r~. Buck weiit`shopping wi~`her daughter at
Defen.daut.'"s 'Kioger Store East/Atlarita   .     l`oeated;at~;101
                                                     ,
                                                                        ;Fairview`Road; Ellenwood; GA
,30294: Herdaugliter stayed iri ~the~car wlule;Iuli~s:;-Buck        .
                                                                            waiked into~the front .of.the
 •                                                                                     -. • : :
:~roger:store a7~d:got oiie of tlieshopping caFts~and viralked ~urther
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bottles aud. placed: tliem, iri the=;  shoppui~= cart;
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                                                           1~. s;she:proceeded:into the store with both
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of her hands:holding ~.the shoµ''  ppind;cart
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              soirie objects left:on•the floor~ `~lie:lost coutrol:as;she:slipped';aiid;hit;the:;stor,~:
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floor really hard resultirig in a sharp;pain to her left ktiee; left hip~ and ao tlig aaack area;of
he~ body,                                                                               •             _.      '

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      As Plaintiff:Nlrs. Buc'k'vvaited: for;tlie stor.e mariager to shv~ itp; ai~aeinployee of
Kroger started sweeping the' areas where she.:slipRed and fe11 s.o as to get tlie coleslav✓ off
the'floor. As Mrs: Buck waited; the lady from customer serviee eame back with a chair
and anotlier erriployee came with tlie electric wheelchair: At this time, the guy in;the
security uriiform approach<Mrs. Buck:ancl.~tarted asking for lier narne and>other perso.nal
     Case 1:21-cv-00734-CAP Document 1-1 Filed 02/21/21 Page 7 of 16



information: In response, IVIrs. Bucktook out her driver's license and showed 'it to him.
Thereafter,.a young,lady who appeared to be in management appeared, directed the other,
employees: to' try and get her up from the floor. lYlrs. Buck's daughter, Nicole Buck, who
was sitting
      _
            in the car came into the store. just as the Kroger employees were. tryirig to get
Mrs. Buc.k up. from ₹he floor. At that time someone asked:Mrs. Buck if she needed.an
ambulance and her daughter responded in the positive, adding that:she dichi't think it was
a good idea to try and move.Iier, mother, IYIrs.. Buck:.

                                                  10:
      Plaintiff N1ts: `$~tck'stated1hat several store employees attempted to heip pull her
ofP the #loor where she felt liut they were unsuccessful Uecause she was in too much pairi.
She remained ion the Kroger store floor where she slipped and fell until the. ambulance:
service arrived shortly thereafter and with the help of the paramedics, J.VIrs.: Buck was
taken up from:the.store floor aridplaced ins'ide tlie ambulance wlnch::transported,her.:tt>;
Piedmorit,Iki -Y             -E/R for-medical,attention.

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         late~al nmenisctis' violatin'`::the~free.ed                       ; ,. ~,
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      Inieetionsi. .   Mrs: Buck.ree~i~ed     ` se~eral  in~ectioris; prescriptionssas well assess~~i~s•
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     .. .                           ,.                                ,
 of chiropractic therapy as conservative. treatment ;for. her injurie"s~ witli=little or;rio
;improvenlentw~n;her condition;..,She ~ceived additional ui~ection to lier back;in,J~y

     I:eft Knee Surgerv: '-VWlien;~(~nseivative treatrrient;failed; Mrs. Buck undt;rwe7i~
surgery to repa:ir tlie~lefftknee injury she sustained:in the:slip-and-fall of Octobe"r 3; 201~9.
Total:.recovery ofthe use of her.1`eft knee.has not,been achieved even aftex the sutgery
and she'now has liniited use of tlie°said left irnee. She is still undergoing sessions of


     ..r           .., . w                   Page3of11                    .
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 physical therapy with hopes of regaining the use of her left knee with very minirrial                                                         ,
 success. Her left knee injury therefore, appears to be pexinanent.

                                                                                         12.
        Details and specifics of the inju.ries Mrs. Buck sustaineil in the slip and=fall:are better
 stated. in l2er inedical records which _were forwarded by Plaintiff aTorig with the D.emand
 Lettei to:Defendant.

                                                                                         13,
         1VIedical Treatment.& Facilities: Resulting from. the slip=and-fall incident' at the
premises of Defendant,lVlrs. Bnck received' mechcal treatsrient frdm the follovvi:ng
;healfhcare. prov'iciers:
     I ; A:m:bulance transportation froxn. Kroger toPiedmont flenry Hospital E/R
    l.. Piedinont Henry Hospital E/R Rooin
     3: TEANI Health; E/R Physicians
     4.. Hands On Chiropzactic.& Weliness'.Clinic;ti~,13~,~shaiida ~tepIiens
     5:
      ..
          Barbour,
                 , :Orthopaed'ic
                    ,;.          by Dr: Scott;Baibour
                                                 .
     6. eLI1E:Radiology.of.Ge,orgia;by Drs. T;uke,IL..Scalciorie
                                                              .-.
                                                                      •,
    7. Atlanta     Ortliopaedic Imagirig (NI12I and CAT
             , . Spiiie &,`Oirt]iopaedics..tiy,Dr.
     . .. Georgia                 ,    ,           Erik`Beridiks:
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    ~. Surgery Center-of;Roswvell:(Adrniiiistered Injectioris}'.: :;^ :
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       1+1, Peachfree Ortliopaedie S;urgery;Gentcr>.
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'faa::aiy Nlrs::;Buck:
        I: Ambulance'Service liy H~ Coun~: Boarel :.....:::...:; ...:M..:~:....-:: ,:.::$1,0:14:~~-
       ;2~. . Piedmont Fayette Hospital           .                •:;:~!>:- ={;..: ;:r ~.. ,             63.2Q~ '
      3:-1Vledical Record Eee for the E%R (HealthPort)... .,•:                  :~-: ., :...:...:.:•,.$76:11
        4: 1EAM Health, E%R Physicrans. .. . .. .::: . .. .:..:: ...' :.}.. ..$877.00' .
                                     & Wellnies"s, Clinic', .......~... . ..... , .:...:..,...;:
        ~'. Hands Oin .Chiropracixc...~'
       ..                                                                              . .        ::$7,905:00~
       ~O~. Barbozir Ortliopae,dic.                     ........... ::~-.;~ ~ .... .                $: 9;172:64,
        7: eLITE Radiology of Georgia-((D/O/S: 01/23/20201:,,.,,..,..~-:._-....,. .,•. $,3;90.0.00<=
        8.. eLITERadiology-.of Georgi4,:(D/O/S:, 02/0.6/2020~;:~...:::~....::.::',; :.::. $3,9Q0;00_
        9: Surgery Center, of Roswell (Tnjecfions)                 ;.::-:...:.,:..:.               : $7,527.;i:1.
        10.Georgia.Spine._&..Orthopaedics (1/8T20 to :7/10/720.:Po~t4Surgery)......$48;845
                                                                        . ~. . -.'
                                                                                                               12.
        11.Piedmont Anestiiesia.: ~_ . , . .. _ . .:.. .. . ... :                                To be provided
                                                  >.
                                                                                         4 of 11.
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Case 1:21-cv-00734-CAP Document 1-1 Filed 02/21/21 Page 9 of 16

a



12.Peachtree Orthopaedic Surgery CeiiYer.............................
                                                         .           :.......... $76;878:88
13.Always-Care Physical Therapy (In-home post surgery P.T.)............ $840:00
14.TEAM Rehab Physical Therapy (Still.in. Therapyj :                   . . • • ::•$14;785.00

            TOTAL ...:...::....     ,:;..:...,::~~.~::.-.;:.. S179,684:46 PLUS


                                            Y5:




                     ,   ,. .~.     : . ~p-age 5`of 11-         ;
                                                                            ..

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   Case 1:21-cv-00734-CAP Document 1-1 Filed 02/21/21 Page 10 of 16



   4. ' M6'ntal anguish, - past and future,
   5. Loss. of CONSORTIUM.



                                                    TII: CAU.SES OF ACTION
                                                   CODNT` ONE: ,NEGLIGENCE



        Plairitiffs incoipozate liy refereince each pre,ceding _and subsequent allegation in
this Coinplairit;




         tiQUJG:Li1G~JGIlU.UJ:      il J1GiU•:a1G11ilyLU:r                ~LLl1L1Li.:iil1LL;:W;,UUiG1J~...~                       '-             -
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   4. Defendan~'s failure-to niaintain'flie~premises especially t~i;~~fl~c~i:are`a;~inry~aod.;at~d:
       safe condition
            ..        for Plaintiff and;otliers:.
   5.: Defendant's failure to comply with~the applicable laws andjegulation%",e State
       of Georgta.and theapplicable I'edl   era Laws;andregulations;, ,
   6. Otherwise:failing to. exer,cxse;the ;deg~eejof care required.under:the circumstances;
                                    M
         and
   7. Otherwise being:rieghgeut.
    Case 1:21-cv-00734-CAP Document 1-1 Filed 02/21/21 Page 11 of 16

       s


                                                               21: -
                                                                       ---
      As a result of the aforesaid conduct.and breach of care-of Defendant, Pla'intiffs
sustained the injuries, losses and. damages which were more fully described.above; w.ithout
any, negligence of Plaintiffs, coutrributing. ther:eto.


                           COiTNT'TWO: LOSS OF CONSORTIUIVI.
                                             .. .
                                                               22:

    Plaurtiffs incorporate by reference •a11 previous .and ~subsequenit adlegatioris of`thi;s
Complaint;

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Case 1:21-cv-00734-CAP Document 1-1 Filed 02/21/21 Page 12 of 16



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Plaintiffs incorporate b~ ref.erer~~a~~~re~io~is and siibsequent .al:l"e,gations 0.f this
           Case 1:21-cv-00734-CAP Document 1-1 Filed 02/21/21 Page 13 of 16



~-•                                                                               ,_
      Statute. Furthermore, Defendant stated in its acknowledgme.nt letteT of Novembe"r:25,
      2019, that.it does not participate in'pre-litigation discoveries.

                                                                 26.

            On.November l1., 2020, Plaintiff presented a Tune Limited. Policy Limits
      Settlement Demand Letter to Defendant. Plaintiffs' Demand Letterwas sent to Defepdant:
      via Cerhfie.d Matl;and iiicluded.Plaint%.ffs' eomplianee with O.G.G.A. :§ 9-1:1 67.1;..

                                                                 27.
                                                              .                      .
           •On Naveniber  18, 2020;, Defendant sent letter to. Plaintiff:aeknowiedguig
                                                                              ,    -
                                                                                          receipt
                    ~                                                    .
      the Plaintzffs .I~emand package` but never.preserited::any settlernent:offer to k'laynti#~;`

                                                                 ;28:

           .i(:; ft- :           er 30; .2020; Plaintiffs. sent'~rr~iriirider
                                                              .
                                                                              memo
                                                                                .
                                                                                    via email to Uefen ant
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      ~vith regard"s'to,tlieir        T.irne Lirriited Pq~iicy;Limits  Settlement
                                                                            .
                                                                                  Demand Letter to.
                               ,                          ..:.
      Defendant; response to which yvas.about 45, days past;due: IDefendant r,:.eplied'iri a inemo.
      o£January.      6, 2021 via email arid. demanded           3 5 years ofMrs.:Buck's,"rriedical reco"rds.;
         .                                                  •    .            ,
      This:is:contraryto Deferidaiit''s.positiori;iri;its`letter;:of:Noveinbei,2~~;2,0%l~;;statirig:
      Defend~nt      doe"s not=participate,in
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                                                       .pre-liti~ation discoveries:;
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              I~;eferidan~''s conduct;prior;tio :the: lawsuit beirig;fleti;:i~iias- in bad fait~i. e~~° .
      coritemplafed~znder      .D C   G.A §~i3 6 IX, "bad.faith           connected      iyith~the
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      dQalings _out.of wliicli the    cause     of aetion:    arose;. rather  than bad      faith:~in;defendtng    ot
      resistrng the; clatm;   after the cause of; .actibn has already. °' But for Defendarit':s;baci~faith;.
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      zefusal to settle;Plaintiffs' clairii;`tlus lawsuit;would not have lieeri riecessary:.Therefoxe~
      Plaiiitiffs are entitled
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                                 to:attorney'"s
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             Pursuant to 0.~;~;A: 13-6-1=1, Plau~.tiffs demandahe recovery_of expeiisesebf .
      htigation as,Defendant had acted m bad.faith, had been'stubboinly htigious, and had' ;
      caused.Plauihffs;unnecessary trouble anci expense by refits~ig to makz good-faith effoit;
      to settie Plaintiffs'. claim, even:after recei~ing a;Policy Limits Tune.Limited' Settlemerit,
      Demand leiter frorn ,
                              Plaiiitiffs,;and for allowirig "this matter to° be brought to court -
                                                                     .
      especially; :as Defendant's liability;in the maite~ ~s'=.obV.~ous:.
    Case 1:21-cv-00734-CAP Document 1-1 Filed 02/21/21 Page 14 of 16



    2. That Plaintiffs haVe judgment against Defendant°'in the amount not less than One       Y
       Million Five Hundred Dollars ($1;500,000.00 ) or an amount to be determiried.
       at trial for past and future medical. expenses, loss of consortium., past and future
       pain and suffering, and mental angtiish, to wkuch Plaiutiffs have been subjected;
    3: Jiadgment against Defendant for court costs and Attorriey's fees;
    4: Ihat process issue as provided by law.,
    5, For such other rel"iefs as the Court deems just and proper.

        Respectfully submitted this 1 -7 'Aay. of January; 2021.


                                                         ./.s/Micliael• Onyekivelaa bhke

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                                                          Georgia Bar:No::14SY41
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     Case 1:21-cv-00734-CAP Document 1-1 Filed 02/21/21 Page 15 of 16

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                           IN THE SUPERIOR COURT OF COBB COLINTY
                                     STATE' OF :G'EORGIA

 Daphne. Buck                                   )
 IVlichael Buck.                                )
, Plaintiffs                                     }
                                                )
                                                ~ Civii Action File
V.

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 Kroger Managemcnt=NMTC Athens I,, ~
 LLC. (011, KrogerZaSt/Atlanta~
,Defendant                         ~

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         Personally-appeaied tiefore the:uudersigned      cer.:duly authori~d   clmirii"ster




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          .as.M...
Case 1:21-cv-00734-CAP Document 1-1 Filed 02/21/21 Page 16 of 16
